                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

UNITED STATES OF AMERICA,                   :

                      Plaintiff,            :
                                                    CASE NO: 2:19-cr-53
       v.                                   :
                                                    CHIEF JUDGE EDMUND A. SARGUS, JR.

ANDREW K. MITCHELL,                         :

                      Defendant.            :



                              MOTION OF DEFENDANT
                         TO CONTINUE ALL TRIAL DEADLINES

       Now comes Defendant, Andrew K. Mitchell, by and through counsel, Mark C. Collins, who

hereby requests a continuance of all deadlines and Court dates. Defendant also continues to waive

time for said request.   The reasons for said request are more fully stated in the attached

Memorandum in Support.



                                                    Respectfully submitted,

                                                    /s/ Mark C. Collins
                                                    MARK C. COLLINS (0061207)
                                                    KAITLYN C. STEPHENS (0095589)
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                                                    Attorneys for Defendant Andrew K. Mitchell
                                MEMORANDUM IN SUPPORT


       As the Court is aware, Defense Counsel also represents Mr. Mitchell in State of Ohio v.

Andrew Mitchell, case; 19 CR 1662, a murder charge, set in front of the Honorable Judge Young, in

the Common Pleas Court of Franklin County, as well as the above styled case. In the state case, all

parties are working with each side’s experts’ schedules to select a definite trial date. It is Defense

Counsel’s intention to select a definite state trial date during the status conference set before the

Honorable Judge Young on February 24, 2020. It is Defense Counsel’s belief that it is in Mr.

Mitchell’s best interest to focus on one matter at a time; that being the murder charge in the state

case. The Assistant United States Attorney, Kevin Kelley, is in agreement with the state’s case

proceeding prior to the federal case, and supports this motion. Defendant by and through Counsel

hereby again waives speedy trial rights in the above style case.

                                                      Respectfully submitted,

                                                      /s/ Mark C. Collins
                                                      MARK C. COLLINS (0061207)
                                                      KAITLYN C. STEPHENS (0095589)
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on January 27, 2020, I electronically filed the Motion to Continue with

Chief Judge Edmund A. Sargus, Jr., using the CM/ECF System, which will send notification of such

filing to the following: and Kevin W. Kelley, Esq.


                                                      /s/ Mark C. Collins
                                                      MARK C. COLLINS (0061207)
